Case 3:21-cr-00274-CRB Document 1 Filed 07/07/21 Page 1 of 8


     United States District Court                                                               FILED
                           FOR THE                                                                Jul 07 2021
                NORTHERN DISTRICT OF CALIFORNIA                                                 SUSANY. SOONG
                                                                                           CLERK, U.S. DISTRICT COURT
                                                                                        NORTHERN DISTRICT OF CALIFORNIA
                    VENUE: SAN FRANCISCO                                                         SAN FRANCISCO




                         UNITED STATES OF AMERICA,
                                          V.



                           Ian Benjamin Rogers, and
                               Jarrod Copeland,




                               DEFENDANT(S).


                              INDICTMENT

     18 U.S.C. §§ 844(i), (n) – Conspiracy to Destroy by Fire or Explosive a Building
    Used in Interstate Commerce; 26 U.S.C. § 5861(d) – Possession of Unregistered
   Destructive Devices; 18 U.S.C. § 922(o) – Possession of Machine Guns; 18 U.S.C.
      § 1512(c) – Obstruction of Justice; 18 U.S.C. § 844(c); 26 U.S.C. § 5872; 18
            U.S.C. § 924(d); and 28 U.S.C. § 2461(c) – Forfeiture Allegation




          A true bill.

               V)RUHSHUVRQRIWKH*UDQG-XU\
                                                              Foreman

       Filed in open court this _________
                                 7th___ day of July, 2021.



                                       Stephen Ybarra
           ____________________________________________
                                                    Clerk
           ____________________________________________

                                             1R3URFHVV for Rogers
                                   Bail, $ _____________
                                             No Bail for Copeland

           Hon. Alex G. Tse
                  Case 3:21-cr-00274-CRB Document 1 Filed 07/07/21 Page 2 of 8

                                                                               FILED
 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney                                                  Jul 07 2021
 2
                                                                            SUSANY. SOONG
 3
                                                                       CLERK, U.S. DISTRICT COURT
 4                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                             SAN FRANCISCO
 5

 6

 7

 8                                     UNITED STATES DISTRICT COURT

 9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                           )   Case No. 3:21-cr-00274 CRB
                                                         )
12           Plaintiff,                                  )
                                                         )   VIOLATIONS:
13      v.                                               )   18 U.S.C. §§ 844(i), (n) – Conspiracy to Destroy by
                                                         )   Fire or Explosive a Building Used in Interstate
14   IAN BENJAMIN ROGERS, and                            )   Commerce;
     JARROD COPELAND                                     )   26 U.S.C. § 5861(d) – Possession of Unregistered
15                                                       )   Destructive Devices;
             Defendants.                                 )   18 U.S.C. § 922(o) – Possession of Machine Guns;
16                                                       )   18 U.S.C. § 1512(c) – Obstruction of Justice;
                                                         )   18 U.S.C. § 844(c); 26 U.S.C. § 5872; 18 U.S.C.
17                                                       )   § 924(d); and 28 U.S.C. § 2461(c) – Forfeiture
                                                         )   Allegation
18                                                       )
                                                         )
19

20                                              INDICTMENT
21 The Grand Jury charges:

22                                             Introductory Allegations
23           At all times relevant to this Indictment:
24           1.      Ian Benjamin ROGERS was a resident of Napa, in the Northern District of California.
25 Jarrod COPELAND was a resident of Vallejo, in the Eastern District of California.

26           2.      Prompted by the outcome of the 2020 Presidential election, on November 25, 2020,
27 ROGERS and COPELAND began to plan an attack against a target or targets they associated with

28 Democrats. By November 29, 2020, they had identified the John L. Burton Democratic Headquarters in


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 1 Sacramento, California, as their first target, and made plans to attack it using incendiary devices.

 2 ROGERS and COPELAND believed that the attacks would start what they called a “movement.” They

 3 discussed the attack in detail and on numerous occasions.

 4          3.      ROGERS and COPELAND used multiple messaging applications to plan their attack,

 5 and the communications summarized in paragraphs 4, 5 and 7, below, were transmitted through these

 6 messaging applications.

 7          4.      In late December 2020, COPELAND told ROGERS that he had contacted an anti-

 8 government militia group to attempt to gather support for their “movement.” He also obtained material

 9 that he told ROGERS was to be used in support of their plan.

10          5.      On January 11, 2021, ROGERS told COPELAND, “I want to blow up a democrat

11 building bad”. They then discussed their target, and ROGERS said, “I’m thinking sac office first

12 target,” meaning that they would target the Democratic Headquarters in Sacramento first. COPELAND

13 agreed: “I agree” “Plan attack”. As the exchange concluded, ROGERS said, “Let’s see what happens

14 after the 20th we go to war”.

15          6.      Law enforcement officers searched ROGERS’s home and business on January 15, 2021

16 and seized between 45 and 50 firearms, including at least three fully-automatic weapons, thousands of

17 rounds of ammunition, and five pipe bombs. Officers arrested ROGERS that day.

18          7.      COPELAND learned of ROGERS’s arrest the next day and immediately contacted a

19 militia group to which both he and ROGERS belonged. One of the militia group’s leaders advised

20 COPELAND to switch to a new communications platform and delete everything he had. COPELAND

21 agreed. Law enforcement officers searched COPELAND’s residence on January 17, 2021 and

22 recovered his electronic devices. COPELAND’s communications with ROGERS, which were in

23 ROGERS’s phone, were missing from COPELAND’s phone.

24
     COUNT ONE:            18 U.S.C. §§ 844(i), (n) – Conspiracy to Destroy by Fire or Explosive a Building
25                         Used in or Affecting Interstate Commerce

26          Beginning no later than November 25, 2020 and continuing through at least January 15, 2021, in

27 the Northern District of California, the defendants,

28                                       IAN BENJAMIN ROGERS, and
                                            JARROD COPELAND,

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 1

 2 did knowingly conspire to destroy by fire or explosive a building which is used in interstate commerce

 3 or in any activity affecting interstate commerce, to wit, the John L. Burton Democratic Headquarters

 4 located at 1830 Ninth Street in Sacramento, California, in violation of 18 U.S.C. §§ 844(i) and (n).

 5

 6 COUNT TWO:               26 U.S.C. § 5861(d) – Possession of Unregistered Destructive Devices

 7          On or about January 15, 2021, in the Northern District of California, the defendant,

 8                                           IAN BENJAMIN ROGERS,

 9 did knowingly possess an unregistered destructive device, to wit: five pipe bombs, that were not

10 registered to him in the National Firearms Registration and Transfer Record, in violation of

11 26 U.S.C. §§ 5861(d) and 5845(f).

12

13 COUNTS THREE through FIVE: 18 U.S.C. § 922(o) – Possession of Machine Guns

14          On or about January 15, 2021, in the Northern District of California, the defendant,

15                                           IAN BENJAMIN ROGERS,

16 did knowingly possess the following machineguns:

17                   Count                                Description                      Serial No.
18           COUNT THREE              MG-42 belt fed, open-bolt machinegun                   6012
             COUNT FOUR               AKM-style rifle with under-fold stock                 436314
19
             COUNT FIVE               AKM-style rifle marked “Hesse Model 47”              K005426
20                                    with side-fold stock

21 all in violation of 18 U.S.C. § 922(o).

22

23 COUNT SIX:               18 U.S.C. § 1512(c)(1) – Destruction of Records in Official Proceedings

24          On or about January 16, 2021, in the Northern and Eastern Districts of California, the defendant,

25                                            JARROD COPELAND

26 did corruptly alter, destroy, and conceal records, documents, and other objects, to wit, stored

27 communications with Ian Rogers, or attempt to do so, with the intent to impair their integrity and

28 availability for use in an official proceeding, to wit, the federal grand jury investigation involving the


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 1 January 15, 2021 arrest of Ian Rogers in Napa, California, and the criminal proceedings before a district

 2 court of the United States regarding the same, in violation of 18 U.S.C. § 1512(c)(1).

 3

 4 FORFEITURE ALLEGATION:                  (18 U.S.C. § 844(c); 26 U.S.C. § 5872; 18 U.S.C. § 924(d); and 28
                                           U.S.C. § 2461(c))
 5

 6          The allegations contained in the sole count of this Indictment are re-alleged and incorporated by

 7 reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Sections 844(c)

 8 and 924(d); Title 26, United States Code, Section 5872 and Title 28, United States Code, Section

 9 2461(c).

10          Upon conviction of the offenses set forth in Counts One and Two of this Indictment, the

11 defendants,

12                                        IAN BENJAMIN ROGERS, and
                                             JARROD COPELAND
13

14 shall forfeit to the United States, pursuant to Title 18, United States Code, 844(c) and Title 26, United

15 States Code, Section 5872, any explosive materials involved or used or intended to be used in any

16 violation of United States law, including, but not limited to, the following property:

17                  a. Five assembled pipe bombs;

18                  b. Black powder;

19                  c. Segments of piping; and

20                  d. Endcaps.

21          Upon conviction of the offenses set forth in Counts One through Five of this Indictment, the

22 defendants,

23                                        IAN BENJAMIN ROGERS, and
                                             JARROD COPELAND
24
     shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d) and Title 28,
25
     United States Code, Section 2461(c), any firearm and ammunition involved in the commission of the
26
     offense, including, but not limited to, the following property:
27
                    a. One MG-42 belt fed, open-bolt machinegun, bearing serial number 6012;
28


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 1                b. One AKM-style rifle with an under-fold stock, bearing serial number 436314;

 2                c. One AKM-style rifle marked “Hesse Model 47” with a side-fold stock, bearing serial

 3                   number K005426;

 4                d. One .45 caliber Aldo Uberti 1873 revolver, serial number UL8877;

 5                e. One .4570 caliber Aldo Uberti Sharps single-shot rifle, serial number SH41779;

 6                f. One.223 caliber Armalite AR-10 A2 rifle, serial number US-236410;

 7                g. One Benelli Urbino 12 gauge shotgun, serial number F166579;

 8                h. One Beretta 92FS Briga 9mm pistol, serial number BER270154;

 9                i. One Winchester rifle, serial number 311MR29465;

10                j. One .40 caliber Browning HiPower MK pistol, serial number 513MW51409;

11                k. One Flare pistol, serial number B6344;

12                l. One 7.62 x 51mm FN rifle, serial number 147663;

13                m. One Gecado (Luger) 9mm pistol, serial number 9766;

14                n. One Glock 17 9mm pistol, serial number ZTU074;

15                o. One Glock 19 9mm pistol, serial number BABG034;

16                p. One .45 caliber Glock 21 pistol, serial number MRW529;

17                q. One .556 caliber Harrington & Richardson M16A1 rifle, serial number 2242110;

18                r. One .45 caliber HAS Streamlight TLR-1 pistol, serial number 525618;

19                s. One .40 caliber Heckler & Koch USP 40 pistol, serial number 22-057230;

20                t. One .45 caliber Heckler & Koch USP 45 pistol, serial number 25094028;

21                u. One Heckler & Koch P2000SK 9mm pistol, serial number 121015542;

22                v. One .308 caliber International M1 Garand rifle, serial number 5116707;

23                w. One Kel-Tech 12 gauge shotgun, serial number XXH713;

24                x. One .45 caliber Kimber Raptor II pistol, serial number K591896;

25                y. One .44 or .50 caliber Magnum Research Desert Eagle pistol, serial number

26                   46200560;

27                z. One Mauser C96 7.63mm pistol, serial number 13579;

28                aa. One Mossberg 590 pump-action 12 gauge shotgun, serial number U910362;


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 1                bb. One Mossberg pump action 12 gauge shotgun, serial number L689250;

 2                cc. One Remington 870 Tactical 12 gauge shotgun, serial number AB855093M;

 3                dd. One .308 caliber rifle, serial number 14730;

 4                ee. One .454 caliber Ruger 871 revolver, serial number 88-79097;

 5                ff. One Ruger 556 rifle, serial number 59028547;

 6                gg. One Ruger M77 7mm rifle, serial number 785-00873;

 7                hh. One Ruger 7.62 x 39mm rifle, serial number 189-77371;

 8                ii. One .45 caliber Sig Sauer 1911 pistol, serial number 54B084517;

 9                jj. One .45 caliber Sig Sauer Exeter 1911 pistol, serial number 54B148799 or

10                   548148799;

11                kk. One .45 caliber Sig Sauer P220R pistol, serial number 37B039187;

12                ll. One .44 caliber Smith & Wesson 629DX revolver, serial number CDR5202;

13                mm.    One Springfield M1A 7.62 x 51 mm rifle, serial number 211909;

14                nn. One .45 caliber Springfield PX9628L pistol, serial number N388924;

15                oo. One .45 caliber Springfield PC9105LCA pistol, serial number NM525618;

16                pp. One .45 caliber Springfield 1911 pistol, serial number CRG-6013;

17                qq. One 45 caliber Springfield PC9105LCA pistol, serial number NM541591;

18                rr. One .223 caliber Steyr Aug A3 rifle, serial number 6USA478;

19                ss. One Walther P38 9mm pistol, serial number 308329;

20                tt. One .22 caliber Walther P22 pistol, serial number WA199861;

21                uu. One .357 caliber Winchester 1873 lever-action rifle, serial number

22                   WIJP00011YM73C;

23                vv. One Anderson Manufacturing AR-15 type lower receiver, serial number 20201749;

24                ww.    One polymer 80 PF 940C 9mm pistol without a serial number;

25                xx. One unknown caliber polymer 80 P45 pistol without a serial number;

26                yy. One .45 caliber Kimber Eclipse Custom II pistol, serial number K634409;

27                zz. One Hi-Point C9 9mm pistol, serial number P10055846; and,

28                aaa.   One .22 caliber Marlin 60 rifle, serial number 18492387.


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 1          If any of the property described above, as a result of any act or omission of the defendant:

 2                  a.     cannot be located upon exercise of due diligence;

 3                  b.     has been transferred or sold to, or deposited with, a third party;

 4                  c.     has been placed beyond the jurisdiction of the court;

 5                  d.     has been substantially diminished in value; or

 6                  e.     has been commingled with other property which cannot be divided without

 7                         difficulty,

 8 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

 9 United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

10

11 DATED: July _____, 2021                                A TRUE BILL.

12

13                                                        ___ /s/ Foreperson___
                                                          FOREPERSON
14

15 STEPHANIE M. HINDS
   Acting United States Attorney
16

17
   _____/s/ Frank Riebli_____
18 FRANK J. RIEBLI
   Assistant United States Attorney
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     INDICTMENT                                       7
